                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,

      vs.                                                 Case No. 16-CR-21 (WED)

SAMY M. HAMZEH,

                   Defendant.
______________________________________________________________________________

                       THIRD PRETRIAL MOTION:
            MOTION TO PRODUCE GIGLIO AND BRADY MATERIAL
                      NINETY DAYS BEFORE TRIAL

      Samy Hamzeh, by counsel, files this motion requiring the government to turn over

the Giglio and Brady material in this case 90-days before trial. The facts and law

supporting this argument are set out in the contemporaneously filed omnibus

memorandum.

      Dated at Milwaukee, Wisconsin this 24th day of February, 2017.

                                       Respectfully submitted,

                                       /s/         Joseph A. Bugni      _
                                       Joseph A. Bugni, WI Bar #1062514
                                       Craig W. Albee, WI Bar #1015752
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                                         OF WISCONSIN, INC.
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                                       Counsel for Defendant, Samy M. Hamzeh

                                                         Federal Defender Services
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                                                                 of Wisconsin, Inc.
